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EXHIBIT “A” TO CLASS SETTLEMENT AGREEMENT

_ EASTERN DISTRICT OF LOUISIANA- DUVAL |

Lead Plaintiff

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